          Case 23-16427                         Doc 16               Filed 12/10/23 Entered 12/10/23 23:11:52                                                  Desc Imaged
                                                                    Certificate of Notice Page 1 of 5
Information to identify the case:

                       Robert Divilbiss                                                         Social Security number or ITIN:      xxx−xx−4964
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13       12/7/23

Case number:          23−16427

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Robert Divilbiss

2. All other names used in the
   last 8 years
                                                   2600 John Bourg Dr.
3. Address                                         Plainfield, IL 60586
                                                   Vaughn A White                                                          Contact phone 312−888−0131
                                                   Vw Law LLC                                                              Email: vaughn@vaughnwhite.com
4. Debtor's attorney
     Name and address
                                                   1755 Park St
                                                   Suite 200
                                                   Naperville, IL 60563

5. Bankruptcy trustee                              Glenn B Stearns                                                         Contact phone 630−981−3888
     Name and address                              801 Warrenville Road Suite 650
                                                   Lisle, IL 60532

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 12/8/23
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
         Case 23-16427                     Doc 16          Filed 12/10/23 Entered 12/10/23 23:11:52                                                      Desc Imaged
                                                          Certificate of Notice Page 2 of 5
Debtor Robert Divilbiss                                                                                                                      Case number 23−16427
7. Meeting of creditors                                                                                      Location:
    Debtors must attend the meeting to     January 23, 2024 at 10:00 AM
    be questioned under oath. In a joint                                                    Zoom video meeting. Go to
    case, both spouses must attend.
    Creditors may attend, but are not      The meeting may be continued or adjourned to a Zoom.us/join, Enter Meeting ID 388 782
    required to do so.                     later date. If so, the date will be on the court 3554, and Passcode 4113122038, OR
                                           docket.                                          call 1−872−282−6946
                                                                                                             For additional meeting information, go to
                                                                                                             www.justice.gov/ust/moc .

8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 3/25/24
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 2/15/24
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 6/4/24
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline:       30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                 meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           2/15/24 at 10:30 AM , Location: Courtroom 682, 219 S. Dearborn St, Chicago, IL 60604 or Using Zoom. To
                                           appear by video, use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for
                                           Government at 1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 160 9362 1728 and no
                                           passcode needed.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                         page 2
           Case 23-16427                Doc 16          Filed 12/10/23 Entered 12/10/23 23:11:52                                     Desc Imaged
                                                       Certificate of Notice Page 3 of 5
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 23-16427-DLT
Robert Divilbiss                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 08, 2023                                               Form ID: 309I                                                             Total Noticed: 26
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 10, 2023:
Recip ID                 Recipient Name and Address
db                     + Robert Divilbiss, 2600 John Bourg Dr., Plainfield, IL 60586-8231
30536795                 American Express National Bank, Attn: Bankruptcy, 725 Canton St, Norwood, MA 02062-2679
30536784                 Edward Hospital, ATTN: Bankruptcy, 223 W Jackson Blvd Ste 700, Chicago, IL 60606-6914
30536789               + Genesis Fs Card Services Inc., Attn: Bankruptcy, 1800 Route 34N, Ste 305, Wall, NJ 07719-9146
30536790                 Heartland Bank and Tru, Lvnv Funding/Resurgent Capital, Attn: Bankruptcy, PO Box 10497, Greenville, SC 29603-0497
30536810               + Midland States Bank / Heartland Bank, 1201 Network Centre Dr, Effingham, IL 62401-4677
30536793                 Tempoe LLC, Attn: Bankruptcy, PO Box 1156, Oxford, MS 38655-1156
30536794                 The Bank of Missouri, Attn: Bankruptcy, PO Box 1216, Chesapeake, VA 23327-1216
30536818                 WEBBANK, Attn: Bankruptcy, PO Box 10497, Greenville, SC 29603-0497
30536819               + Will County CCAO, 302 N. Chicago Street 2nd Floor, Joliet, IL 60432-4078

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: vaughn@vaughnwhite.com
                                                                                        Dec 08 2023 22:40:00      Vaughn A White, Vw Law LLC, 1755 Park St,
                                                                                                                  Suite 200, Naperville, IL 60563
tr                     + Email/Text: mcguckin_m@lisle13.com
                                                                                        Dec 08 2023 22:40:00      Glenn B Stearns, 801 Warrenville Road Suite 650,
                                                                                                                  Lisle, IL 60532-4350
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Dec 08 2023 22:41:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
30536792                  EDI: CCS.COM
                                                                                        Dec 09 2023 03:33:00      American Family In, Attn: Bankruptcy, 725
                                                                                                                  Canton St, Norwood, MA 02062-2679
30536798                  Email/Text: bankruptcy@creditfresh.com
                                                                                        Dec 08 2023 22:40:00      CreditFresh, 200 Continental Dr Ste 401, Newark,
                                                                                                                  DE 19713-4337
30536797                  EDI: CCS.COM
                                                                                        Dec 09 2023 03:33:00      Credit Collection Services, Attn: Bankruptcy, 725
                                                                                                                  Canton St, Norwood, MA 02062-2679
30536785                  Email/PDF: acg.exeter.ebn@aisinfo.com
                                                                                        Dec 08 2023 22:45:17      Exeter Finance LLC, Attn: Bankruptcy, PO Box
                                                                                                                  166008, Irving, TX 75016-6008
30536786                  EDI: AMINFOFP.COM
                                                                                        Dec 09 2023 03:33:00      First Premier Bank, Attn: Bankruptcy, PO Box
                                                                                                                  5524, Sioux Falls, SD 57117-5524
30536787                  EDI: CCS.COM
                                                                                        Dec 09 2023 03:33:00      Geico Casualty Co., Attn: Bankruptcy, 725 Canton
                                                                                                                  St, Norwood, MA 02062-2679
30536788                  EDI: PHINGENESIS
                                                                                        Dec 09 2023 03:33:00      Genesis Fs Card Services, Attn: Bankruptcy, PO
                                                                                                                  Box 4477, Beaverton, OR 97076-4401
30536808                  Email/Text: financeadmin@mdg.com
                                                                                        Dec 08 2023 22:40:00      Mdg US/Capital Community Bank, Attn:
           Case 23-16427               Doc 16         Filed 12/10/23 Entered 12/10/23 23:11:52                               Desc Imaged
                                                     Certificate of Notice Page 4 of 5
District/off: 0752-1                                                User: admin                                                           Page 2 of 3
Date Rcvd: Dec 08, 2023                                             Form ID: 309I                                                       Total Noticed: 26
                                                                                                            Bankruptcy, 3422 Old Capitol Trl, # PMB 1993,
                                                                                                            Wilmington, DE 19808-6124
30536811               ^ MEBN
                                                                                   Dec 08 2023 22:35:45     Mngh, LLC., Attn: Bankruptcy, 5401 W Kennedy
                                                                                                            Blvd Ste 1030, Tampa, FL 33609-2450
30536814                  Email/Text: bankruptcy@springoakscapital.com
                                                                                   Dec 08 2023 22:40:00     Spring Oaks Capital, LLC, Attn: Bankruptcy, PO
                                                                                                            Box 1216, Chesapeake, VA 23327-1216
30536812                  Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Dec 08 2023 22:41:00     Santander Consumer USA, Inc, Attn: Bankruptcy,
                                                                                                            PO Box 961245, Fort Worth, TX 76161-0244
30536813                  Email/Text: cs@securitycreditservicesllc.com
                                                                                   Dec 08 2023 22:40:00     Security Credit Services, Attn: Bankruptcy, PO
                                                                                                            Box 1156, Oxford, MS 38655-1156
30536817               ^ MEBN
                                                                                   Dec 08 2023 22:35:48     Velocity Investments, LLC, Attn: Bankruptcy,
                                                                                                            1800 Route 34N, Ste 305, Wall, NJ 07719-9146

TOTAL: 16


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
30536791                        Mdg US/Capital Community Bank, Attn: Bankruptcy, 3422 Old Capi
30536796          *             American Family In., Attn: Bankruptcy, 725 Canton St, Norwood, MA 02062-2679
30536802          *             Exeter Finance LLC, Attn: Bankruptcy, PO Box 166008, Irving, TX 75016-6008
30536803          *             First Premier Bank, Attn: Bankruptcy, PO Box 5524, Sioux Falls, SD 57117-5524
30536804          *             Geico Casualty Co., Attn: Bankruptcy, 725 Canton St, Norwood, MA 02062-2679
30536805          *             Genesis Fs Card Services, Attn: Bankruptcy, PO Box 4477, Beaverton, OR 97076-4401
30536806          *+            Genesis Fs Card Services Inc., Attn: Bankruptcy, 1800 Route 34N, Ste 305, Wall, NJ 07719-9146
30536807          *             Heartland Bank and Tru, Lvnv Funding/Resurgent Capital, Attn: Bankruptcy, PO Box 10497, Greenville, SC 29603-0497
30536815          *             Tempoe LLC, Attn: Bankruptcy, PO Box 1156, Oxford, MS 38655-1156
30536816          *             The Bank of Missouri, Attn: Bankruptcy, PO Box 1216, Chesapeake, VA 23327-1216
30536809          ##            Merchants' Credit Guide Co., ATTN: Bankruptcy, 223 W Jackson Blvd, Ste 700, Chicago, IL 60606-6914

TOTAL: 1 Undeliverable, 9 Duplicate, 1 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 10, 2023                                         Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 8, 2023 at the address(es) listed
below:
Name                              Email Address
Glenn B Stearns
                                  stearns_g@lisle13.com

Patrick S Layng
                                  USTPRegion11.ES.ECF@usdoj.gov

Vaughn A White
           Case 23-16427      Doc 16      Filed 12/10/23 Entered 12/10/23 23:11:52                  Desc Imaged
                                         Certificate of Notice Page 5 of 5
District/off: 0752-1                                  User: admin                                          Page 3 of 3
Date Rcvd: Dec 08, 2023                               Form ID: 309I                                      Total Noticed: 26
                          on behalf of Debtor 1 Robert Divilbiss vaughn@vaughnwhite.com
                          vaughn@vaughnwhite.com;paralegal@vaughnwhite.com;VWLAWLLC@jubileebk.net


TOTAL: 3
